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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 NATIONAL TREASURY
 EMPLOYEES UNION, et al.,
                Plaintiffs,
      v.

 RUSSELL VOUGHT, in his official capacity              Case No. 25-cv-381-ABJ
 as Acting Director of the Consumer Financial
 Protection Bureau, et al.,

                        Defendants.


 UNOPPOSED MOTION FOR LEAVE TO FILE SUPPLEMENTAL DECLARATIONS
     IN RESPONSE TO THE SUPPLEMENTAL MARTINEZ DECLARATION

       The plaintiffs seek leave, under Local Civil Rule 65.1(c), to file supplemental declarations

in response to the Second Declaration of Adam Martinez, filed this afternoon. ECF 47-1. The

plaintiffs previously filed several declarations that contradicted numerous statements in Mr.

Martinez’s first declaration. Mr. Martinez now admits that all of the statements attributed to him—

about plans to “leav[e] a Bureau that could not actually perform any functions, or no Bureau at

all,” to transfer functions to other agencies, to “carry out the closure of the agency,” and to make

plans for after the “CFPB itself was no longer operating”—are “not inaccurate.” ECF 47-1 at ¶ 3.

       Mr. Martinez’s new declaration identifies only one statutory function of the CFPB—

Consumer Response and, specifically, its Escalated Case Management Team—that he asserts has

been “activated” and is “working” “as of February 27, 2025.” ECF 47-1 at ¶ 8. But the

supplemental declarations of Matthew Pfaff, the Chief of Staff of Consumer Response, and Emory

Doe, who has supervision over the Escalated Case Management Team, establish that testimony is

false. The additional declarations further confirm that the Acting Director’s stop-work order
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continues to prevent the Bureau from fulfilling its statutory obligations across the full range of

CFPB’s functions. An index describing the supplemental declarations is attached as a cover.

       Mr. Martinez’s two declarations comprise the defendants’ sole factual support for their

defense in this case. His credibility is therefore central to the pending motion. The plaintiffs seek

leave to file the declarations attached here to demonstrate that there are factual inaccuracies in Mr.

Martinez’s supplemental testimony, further calling his credibility into doubt.

       The defendants have consented to this request.

 Dated: March 2, 2025                                Respectfully submitted,

 /s/ Deepak Gupta                                     /s/ Wendy Liu
 Deepak Gupta (DC Bar No. 495451)                    Wendy Liu (DC Bar No. 1600942)
 Robert Friedman (D.C. Bar. 1046738)                 Adam R. Pulver (DC Bar No. 1020475)
 Gabriel Chess (DC Bar No. 90019245)*                Allison M. Zieve (DC Bar No. 424786)
 Gupta Wessler LLP                                   Public Citizen Litigation Group
 2001 K Street, NW                                   1600 20th Street NW
 North Tower, Suite 850                              Washington, DC 20009
 Washington, DC 20006                                (202) 588-1000
 (202) 888-1741
                                                     Counsel for Plaintiffs
 Jennifer D. Bennett (pro hac vice)
 Gupta Wessler LLP
 505 Montgomery Street
 San Francisco, CA 94111
 (415) 573-0335

 Counsel for Plaintiffs

 Julie Wilson
 General Counsel
 National Treasury Employees Union
 800 K Street, NW, Suite 1000
 Washington, DC 20001
 (202) 572-5500

 Counsel for Plaintiff National Treasury
 Employees Union
